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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



    ___________________________________
                                          )
                                          )
        Rodney Lail, et al.,              )
                                          )
              Plaintiffs,                 )
                                          )                                C.A. No. 10-CV-210-PLF
                     v.                   )
                                          )
        United States Government, et al., )
                                          )
                                          )
              Defendants.                 )
                                          )
                                          )
                                          )


                                     Expedited Ex-Parte Motion for

     In Forma Pauperis Standing for Pro Se Plaintiffs and Related Assistance In

                        Serving Summons and Complaint on Defendants



           Pro Se Plaintiffs James Spencer, Irene Santacroce, Rodney Lail, Ricky Stephens,

Marguerite Stephens, Bruce Benson and Doris Holt 1 are indigent and hereby submit

financial statements in that regard seeking In Forma Pauperis standing in this case which

are also contained in Document No: 6 (Exhibit “E”) attached hereto as Exhibit “A”.


1
    Status of her standing in this Court is unknown due to retaliatory actions of Defendants see below.

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       Furthermore, due to intentional undermining actions and inactions of defendants it

the legitimacy of Pro Se Plaintiff James Spencer’s use of his durable power of attorney

for his mother Pro Se Plaintiff Doris Holt in this action from its inception is in serious

question due to the retaliatory tactics and unconstitutional acts of defendants in this

action through the misuse of power of a defendant state agency. (Please See Exhibit

“B”)

                                  I.     BACKGROUND

       The defendants have depleted the remaining assets of Pro Se Plaintiff James

Spencer in his litigation to protect his mother, Pro Se Plaintiff Doris Holt, and as such is

now under an eviction notice from his domicile due to lack of fiancés. Pro Se Plaintiff

Spencer has no credit due to the exhausting of all remaining credit trying to legally

engage defendants to reinstate his durable power of attorney and power of health care

attorney and obtain the release of his elderly mother Pro Se Plaintiff Doris Holt currently

held in custody without due process.

       Further, defendant DSS personnel wrongfully unilaterally cancelled Pro Se

Plaintiff Doris Holt’s comprehensive health care insurance which financially covered her

disabled son to deliberately further undermine Pro Se Plaintiff James Spencer’s and Pro

Se Plaintiff Doris Holt’s financial position and their economic ability to litigate this

lawsuit. (Please See Exhibit “C”)

       Furthermore, James Spencer only income is from SSI which does not cover his

basic living expenses, Ricky Stephens and Marguerite Stephens only income is from

disability which just covers their required medical expenses to preserve life, Pro Se

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Plaintiff 93 year old Doris Holt (if alive) does not have access to any income due to the

direct actions of defendant South Carolina Department of Social Services in wrongfully

and maliciously cancelling her comprehensive medical insurance coverage, Irene

Santacroce has no income, and Rodney Lail has no income as his unemployment has run

out. James Spencer, Ricky Stephens, Irene Santacroce and Marguerite Stephens, Doris

Holt and Rodney Lail are 100% medically disabled and unable to work.

       Pro Se Plaintiff Bruce Benson had secured third party funding for this case but all

third party funding through his former company was lost due to the actions of the

Defendants regarding Pro Se Plaintiff Doris Holt and the baseless defaming of her son

Pro Se Plaintiff James Spencer as physically abusing her which all parties now admit was

unfounded, however the intentional economic damage had already been done by

defendants. (Please see Exhibit “B” page 4 and Exhibit “A”, page 1 attached hereto)

       Pro Se Plaintiff Bruce Benson lives below the poverty level just able to survive

and feed his wife and take care of their housing and medical needs. (Please See Exhibit

A, 12, 13 and 14)

                           II.    DISCUSSION AND REMEDIES

       Therefore, impoverished Pro Se Plaintiffs request the court to recognize the

current economic situation the Pro Se Plaintiffs now find themselves in and (1) grant

eligible Pro Se Plaintiffs in forma pauperis status to pursue their claims, (2) order

defendants to give access to Pro Se Plaintiff Doris Holt (if she is still alive) so that Pro Se

Plaintiff Doris Holt wishes regarding this suit may be known or delay this action until

Pro Se Plaintiff James Spencer can force the South Carolina local Courts to restore his

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durable power of attorney and power of health care attorney, which should be restored

automatically if and when the long overdue court order is issued, in order to determine

Pro Se Plaintiff’s Doris Holt’s status in this case, (3) authorizing the serving of summons

and complaints by the US Marshals office due to the in forma pauperis status of the Pro

Se Plaintiffs and allow such time as needed to do such and (4) reconsider the request for

appointment of Pro Bono Counsel and in so doing review the laws and citations

previously submitted to this honorable Court in Document No: 6, to represent any eligible

Pro Se litigant in this action, Pro Se Plaintiffs pray for this review (i) due to the ever

increasing complexity of the case, (ii) due to the significant civil rights issues, the elderly

and health care issues of national importance in this case, and (iii) due to the increasing

disability of the Pro Se Plaintiffs to act as their own counsel due to their increasing

disabilities as a group.

       The worsened condition of James Spencer due to severed nerves in his right hand

and neuropathy from the stress induced diabetes in his left hand Pro Se Plaintiff James

Spencer can only type with four digits out of the ten digits on both hands. Pro Se

Plaintiff Ricky Stephens recently suffered a stroke has uncontrollable blood pressure and

went through life saving surgery within the past two weeks.

       In summary, the Plaintiffs pray the economic lopsided nature between the

defendants and plaintiffs in the case which necessitates, in order for justice to prevail, the

Court consider taking all of the above requested actions and to include all or part of the

Plaintiffs as the Court deems appropriate in each case to help establish a fair litigation

process as the plaintiffs ability to economically litigate this case or even survive on a

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daily basis has been destroyed by the casual actions of the defendants subsequent to

defendants receiving the notice of the Federal and State tort claims as required by law

from the Pro Se Plaintiffs.

                    III.      EVIDENTIARY OR MOTIONS HEARING

       If this honorable Court is unable to exercise its discretion in favor of the Pro Se

Plaintiff(s) based on the documents already filed in this Court, including but not limited

to, this motion and attachments and Pro Se Plaintiffs’ motion and attachments contained

in Document No. 6, Pro Se Plaintiffs’ respectfully request that the Court set a date for an

evidentiary or motions hearing for the Pro Se Plaintiffs to further plead their case for In

Forma Pauperis Standing, for eligible Pro Se Plaintiffs allow Pro Se Plaintiff

James Spencer access to his mother Pro Se Plaintiff Doris Holt (if still alive) and

other remedies the Court deems appropriate requested herein by the Pro Se

Plaintiffs in this motion above in the section entitled, II. Discussion and

Remedies.

                                   IV.    VERIFICATION

       The undersigned Pro Se Plaintiffs, “Sui Juris,” in the above entitled action hereby

verify under penalty of perjury, under the laws of the District of Columbia, and the

applicable Federal laws regarding perjury, of the above statement of facts and laws are

true and correct according to the Pro Se Plaintiffs current information, knowledge, and

belief, so help them God.




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                                    UNITED STATES DISTRICT COURT
                                                       District of   COLUMBIA

                       Rodney Lail, et al.,                   APPLICATION TO PROCEED
                        Plaintiff                             WITHOUT PREPAYMENT OF
                                                              FEES AND AFFIDAVIT
                           V.

                       United States, et al.,                 CASE NUMBER:    10-CV-210-PLF
                       Defendant
                                                             Robert B. Holt
I,   James B. Spencer formerly known as                        declare that I am the (check appropriate box)
G
Xpetitioner/plaintiff/movant                  G other
in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC §1915 I declare that I am unable to pay the costs of these proceedings and that I am entitled to the
relief sought in the complaint/petition/motion.
In support of this application, I answer the following questions under penalty of perjury:
1. Are you currently incarcerated?              G Yes            GXNo              (If “No,” go to Part 2)
     If “Yes,” state the place of your incarceration
     Are you employed at the institution?                 Do you receive any payment from the institution?
     Attach a ledger sheet from the institution(s) of your incarceration showing at least the past six months’
     transactions.
2. Are you currently employed?                  G Yes                GXNo
     a.    If the answer is “Yes,” state the amount of your take-home salary or wages and pay period and give the
           name and address of your employer. (List both gross and net salary.)


     b.    If the answer is “No,” state the date of your last employment, the amount of your take-home salary or wages
           and pay period and the name and address of your last employer. August of 2000, Southern
           6170 West Lake Mead Blvd, Suite 311                                  Holdings, Inc. $300,000 annual.
            Las Vegas, Nevada 89108
3. In the past 12 twelve months have you received any money from any of the following sources?
   a. Business, profession or other self-employment       G Yes             GXNo
                                                                             X
   b. Rent payments, interest or dividends                G Yes             G  No
   c. Pensions, annuities or life insurance payments      G Yes             G No
                                                                             X
   d. Disability or workers compensation payments         G Yes             GXNo
   e. Gifts or inheritances                               G Yes             GX No
   f. Any other sources                                    X
                                                          G Yes             G No

     If the answer to any of the above is “Yes,” describe, on the following page, each source of money and state the
     amount received and what you expect you will continue to receive. SSI - $674.00 a month.
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                                    UNITED STATES DISTRICT COURT
                                                       District of   COLUMBIA

                       Rodney Lail, et al.,                   APPLICATION TO PROCEED
                        Plaintiff                             WITHOUT PREPAYMENT OF
                                                              FEES AND AFFIDAVIT
                           V.

                       United States, et al.,                 CASE NUMBER:    10-CV-210-PLF
                       Defendant

I, Doris Holt                                                    declare that I am the (check appropriate box)
G
Xpetitioner/plaintiff/movant                  G other
in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 USC §1915 I declare that I am unable to pay the costs of these proceedings and that I am entitled to the
relief sought in the complaint/petition/motion.
In support of this application, I answer the following questions under penalty of perjury:
1. Are you currently incarcerated?              G Yes            GXNo              (If “No,” go to Part 2)
     If “Yes,” state the place of your incarceration
     Are you employed at the institution?                 Do you receive any payment from the institution?
     Attach a ledger sheet from the institution(s) of your incarceration showing at least the past six months’
     transactions.
2. Are you currently employed?                  G Yes                GXNo
     a.    If the answer is “Yes,” state the amount of your take-home salary or wages and pay period and give the
           name and address of your employer. (List both gross and net salary.)


     b.    If the answer is “No,” state the date of your last employment, the amount of your take-home salary or wages
           and pay period and the name and address of your last employer. August of 2000, Southern
           6170 West Lake Mead Blvd, Suite 311                                  Holdings, Inc. $300,000 annual.
            Las Vegas, Nevada 89108
3. In the past 12 twelve months have you received any money from any of the following sources?
   a. Business, profession or other self-employment       G Yes             GXNo
                                                                             X
   b. Rent payments, interest or dividends                G Yes             G  No
   c. Pensions, annuities or life insurance payments      G Yes             G No
                                                                             X
   d. Disability or workers compensation payments         G Yes             GXNo
   e. Gifts or inheritances                               G Yes             GX No
   f. Any other sources                                   G Yes             GX No

     If the answer to any of the above is “Yes,” describe, on the following page, each source of money and state the
     amount received and what you expect you will continue to receive.              Social security income is
                                                                                    unknown at this time due to
                                                                                    her unknown status.
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             Rodney Lail, et al.,




           United States, et al.,
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    Rodney Lail
X




                                               X




                                                 X




                                                         September 30, 2009




                                                          x
                                                          x
                                                          x
                                                          x
                                                          x
                                             x



    Unemployment $200 a week.
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                                                           X




                             X




Wife and son - 100% of suppport.
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  Rodney Lail, et al,




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